         Case 3:16-cr-00412-M IN THE
                                 Document 74STATES
                                     UNITED    FiledDISTRICT
                                                     09/26/17COURT
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                                       FOR THE NORTHERN DISTRICT OF TEXAS
                                                 DALLAS DIVISION

UNITED STATES OF AMERICA                                           )
                                                                   )
vs.                                                                )                             CASE N0.:3:16-CR-412-M (03)
                                                                  )
MIKECANO,                                                          )
                   Defendant.                                     )

                                          REPORT AND RECOMMENDATION
                                           CONCERNING PLEA OF GUILTY

         MIKE CANO, by consent, under authority ofUnited States v. Dees, 125 F .3d 261 ( 51h Cir. 1997), has appeared
before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count 24 of the Indictment, and after
cautioning and examining MIKE CANO under oath concerning each of the subjects mentioned in Rule 11, I
determined that the guilty plea was knowledgeable and voluntary and that the offense(s) charged is supported by an
independent basis in fact containing each of the essential elements of such offense. I therefore recommend that the plea
of guilty be accepted, and that MIKE CANO be adjudged guilty of Count 24 ofthe Indictment, charging a violation
of26 U.S.C. § 7206(2), that is, Aiding and Assisting in the Preparation of False Individual Income Tax Returns,
and have sentence imposed accordingly. After being found guilty of the offense by the district judge,

D         The defendant is currently in custody and should be ordered to remain in custody.

@--''/    The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(l) unless the Court finds by clear and convincing
          evidence that the defendant is not likely to flee or pose a danger to any other person or the community if released.

                   The Government does not oppose release.
                   The defendant has been compliant with the current conditions of release.
                   I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any other person
                   or the community if released and should therefore be released under § 3142(b) or (c).

          0        The Government opposes release.
          0        The defendant has not been compliant with the conditions of release.
          0        If the Court accepts this recommendation, this matter should be set for hearing upon motion of the Government.

0         The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (l)(a) the Court finds there is a
          substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has recommended that
          no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly shown -unGe{ § 3145( c) why the
          defendant should not be detained, and (2) the Court finds by clear and convincing evidence that t4~an!Js-as1; likely
          to flee or pose a danger to any other person or the community if released. ,                   /, : / · //!~/~ .......-- ~

          Date:    September26,2017.                                                /~~?::;./~~                                7
                                                                                 PAUL D. STICKNEY
                                                                            UNITED STATES MAGISTRATE JUDGE

                                                         NOTICE
          Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date
of its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. §636(b)(l)(B).
